         Case
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                                                                              November 12, 2021

ViaECF

Hon. Kenneth M. Karas
United States District Judge
United States District Court
300 Quarropas Street
White Plains, NY 10601

                Re:     Elizabeth Sullivan v. National Express LLC, et al.
                        7:21-cv-05789-KMK

Dear Judge Karas:

        We represent Plaintiff Elizabeth Sullivan in the above referenced matter. I write to
respectfully request an adjournment of the initial conference that was scheduled earlier today for
Tuesday, November 30, 2021 at 11 :45 a.m. The reason for this request is that I have a previously
scheduled deposition that day which I am unable to be adjourn. I believe it would be beneficial for me
to attend the conference since I am lead Plaintiffs counsel. Defense counsel consents to this request.
The parties have conferred and are available for the conference on December 2, 3, 8, 9 and 10. No prior
request for an adjournment has been made by any party.

         We thank the Court for its consideration of this matter.


                                                                              Respectfully submitted,

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                                                                              BRIAN HELLER

cc:      Robert T. Syzba, Esq. - via ECF



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                                                                                       . KARAS U.S.D.J.

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